Case 2:02-cr-20484-.]DB Document 150 Filed 08/16/05 Page 1 of 2 Page|D 169

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IN THE UNlTED STATES DISTRICT COURT '~ -»'
FoR THE WESTERN I)ISTRICT oF TENNESSEEUS

WESTERN DIVISIoN AUG 15 PH 1b 55

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UNl'l`ED STATES OF AMERICA,

P]aintiff,
VS- No. 02-20333
ToRRICl< LYLES, 02 ' 52 0 484 1/
Defendant.

 

ORDER GRANTING DEFENDANT’S MOTION TO CONT]NUE SENTENCING

 

This cause came on upon the motion of the Defendant to continue the Sentencing hearing

Set on August ]'7, 2005 at 1130 p.m. For good cause Shown, the Court hereby grants the
Defendant’s motion The sentencing is hereby reset for the / 3 1431 day of § /`QZ" ,;:/'Q .,» t ,

2005 at f 1 §§ a.ln./p.rn.

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IT IS So oRDERED this { to day OfAuguSt, 2005.

joe

UNIEL BREEN
UNDI EI) STATES DISTRICT JUDGE

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UNITED `SETATDSTIRICT COURT - WESERNT D'S'TRCT oFTENNESSEE

   

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Honorable .1. Breen
US DISTRICT COURT

